Case 1:23-mi-99999-UNA Document 850-6 Filed 03/20/23 Page 1of1

Department of Homeland Security ™ rm 1-797C, Notice of Action

U.S. Citizenship and Immigration Services
Re BS
ANY IMMIGRATION STATUS OR BENEFIT.

_THIS NOTICE DOES NOT GRANT

bs

Receipt Number USCIS Online Account Number Case Type
SRC2130050885 1485J - CONFIRMATION OF BONA FIDE JOB OFFER OR REQUEST

FOR JOB PORTABILITY INA SEC204(J)

Received Date Priority Date Applicant A218 015 185
07/30/2021 PRAKASH | REGMI
Notice Date Page

07/31/2021 lof I

Notice Type: Receipt Notice Fee Waived
Employer Business Name: TYSON FOODS

INC
Employer Site: SPRINGDALE AR

PRAKASH

We have reccived the application or petition (“your case’’) listed above. This notice only shows that the application or petition was filed on the
“Received Date” above. It does not grant you any immigration status or benefit, and it is not evidence that your case is still pending.

If any of the above information is incorrect, please immediately call 800-375-5283 to let us know. This will help avoid future problems

If you have any questions about the status of your case, you can call 800-375-5283 to obtain case status information directly from our automated system, 24
hours a day. Please have the case receipt number (at the top of this notice) ready when you call.

Processing time - Processing times vary by form type.

* Visit www_uscis.gov/processingtimes to see the current processing times by form type and field office or service center.
* If you do not receive an initial decision or update within our current processing time, you can try our online tools available at www.uscis.gov/tools or ask

about your case online at www.uscis gov/e-request
* When we make a decision on your case or if we need something from you, we will notify you by mail and update our systems.

Please save this and any other notices about your case for your records. You should also keep copies of anything you send us, as well as proof of delivery.

Have these records available if you contact us about your case

If your address changes - If your mailing address changes while your case is pending, update your address with us by calling 800-375-5283 or using the
Online Change of Address option on our website. Otherwise, you might not receive notices about this case.

Return of Original Documents - Use Form G-884, Request for the Return of Original Documents, to request the return of original documents submitted to
establish eligibility for an immigration or citizenship benefit. You only need to submit one Form G-884 if you are requesting multiple documents contained
in a single USCIS file. However, if the requested documentation is in more than one USCIS file, you must submit a separate request for each file. (For
example: If you wish to obtain your mother’s birth certificate and your parents” marriage certificate, both of which are in the USCIS file that pertains to her,
submit one Form G-884 with your mother’s information.)

NOTICE: Under the Immigration and Nationality Act (INA), the information you provide on and in support of applications and petitions is submitted
under the penalty of perjury. USCIS and the U.S. Department of Homeland Security reserve the right to verify this information before and/or after making

a decision on your case so we can ensure that you have complied with applicable laws, rules, regulations, and other legal authorities. We may review

public information and records, contact others by mail, the internet or phone, conduct site inspections of businesses and residences, or use other methods of
verification. We will use the information obtained to determine whether you are eligible for the benefit you seek. If we find any derogatory information, we
will follow the law in determining whether to provide you (and the legal representative listed on your Form G-28, if you submitted one) an opportunity to
address that information before we make a formal decision on your case or start proceedings.

Please see the additional information on the back. We will notify you separately about any other cases you have filed.

Texas Service Center
U_S. CITIZENSHIP & IMMIGRATION SVC

6046 N Belt Line Rd., STE 110

Irving TX 75038-0012

USCIS Contact Center: www.uscis.gov/contactcenter

Form I-797C 04/01/19

If this is an interview or biometrics appointment notice, please see the back of this notice for important information.
